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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division




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                                        :
         INTERSECTIONS INC, et al.,     :
                        Plaintiffs,     :
                                        :
          -vs-                          :             Case No. 1:09-cv-597
                                        :
                                        :
         JOSEPH C. LOOMIS, et al.,      :
                        Defendants.     :
                                        :
         -------------------------------:




                                    HEARING ON MOTIONS


                                     October 30, 2009


                        Before:   Mag. Judge Theresa C. Buchanan




         APPEARANCES:

         Michelle J. Dickinson and Ryan C. Berry,
         Counsel for the Plaintiffs

         Candess J. Hunter and David Ludwig,
         Counsel for the Defendants




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    1                NOTE:   The case is called to be heard at 9:59 a.m.

    2    as follows:

    3                THE CLERK:    Civil action number 09-cv-597,

    4    Intersections Incorporated, et al. versus Joseph C. Loomis.

    5                THE COURT:    Good morning.

    6                MS. DICKINSON:    Good morning, Your Honor.

    7                THE COURT:    Would counsel identify themselves for

    8    the record, please.

    9                MS. DICKINSON:    Michelle Dickinson and Ryan Berry

   10    for the plaintiffs, Intersections and Net Enforcers, Your

   11    Honor.

   12                THE COURT:    All right.

   13                MR. LUDWIG:   Good morning, Your Honor.              David Ludwig

   14    and Candess Hunter for the defendants.

   15                THE COURT:    All right.    This comes on the

   16    plaintiffs' two motions.

   17                Do you have anything to add to your motions?                   I've

   18    read all of the briefs.

   19                MS. DICKINSON:    Yes, Your Honor, just a short bit,

   20    if I may.

   21                THE COURT:    All right.

   22                MS. DICKINSON:    Your Honor, there have been a few

   23    developments as of late.      As you can imagine, this is sort of

   24    a quickly moving issue in this case.          If I can just turn to

   25    the motion for protective order first, please.




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    1                THE COURT:   Certainly.

    2                MS. DICKINSON:    In--    We have been advised that the

    3    Phoenix Police Department is not planning on pressing criminal

    4    charges against Intersections with respect to this laptop

    5    issue.

    6                In the opposition to the motion for protective order

    7    the defendants indicated that, they provided the criminal

    8    report number and the name of the police officer who is in

    9    charge of the case, and they indicated that Intersections and

   10    counsel, me, were going to be the subject of criminal charges.

   11                What we did was we had to hire criminal counsel.

   12    And our criminal counsel contacted the Police Department and

   13    actually learned that there were no criminal, there was no

   14    criminal report filed against me at all.             That--       That was my

   15    reaction.    That the, there was a criminal report filed by Mr.

   16    Loomis against Intersections only, and that he did not advise

   17    the police officer that there was an underlying civil action

   18    or that the computer actually was returned.

   19                So, it's not clear to me because I don't have a

   20    crystal ball as to whether he will do this again or whether he

   21    plans to file other charges.      But it seems hard for me to ask

   22    the Court at this point or for us to ask the Court at this

   23    point to move depositions from Arizona to Virginia if there

   24    aren't any criminal charges pending.           We certainly don't want

   25    to be overstepping our bounds.




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    1                 But I think what we do need the Court's help with

    2    today is stopping the harassment and the intimidation of

    3    witnesses and this blackmail and extortion that they have,

    4    that Mr. Loomis has thrust upon the CEO of Intersections.

    5                 And I know that's all detailed in my papers.                  I can

    6    go through it with you if you like.

    7                 THE COURT:   No.   Now, who were you going to depose

    8    in Arizona who is not a party and not an employee of the

    9    defendants?

   10                 MS. DICKINSON:     There are certain former employees

   11    and an accountant.     And our thought was the accountant has

   12    already said that he would go outside the state to have his

   13    deposition taken.     So, I don't think he's a problem.

   14                 The former employees, I believe we could get them to

   15    come out, to come to Virginia for their depositions.                    It's a

   16    real concern, we have safety concerns.           We have--

   17                 THE COURT:   And are the former employees defendants'

   18    witnesses or your witnesses?

   19                 MS. DICKINSON:     They're our witnesses.

   20                 THE COURT:   Your witnesses.

   21                 MS. DICKINSON:     Well, except for one, they're our

   22    witnesses.    One is the defendants' brother, and at this point

   23    I don't know that I would care all that much if I take his

   24    deposition or not.

   25                 THE COURT:   Well, what I mean to say is, these




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    1    witnesses, are they witnesses whom the defendant has

    2    designated as possibly testifying on their behalf at trial, or

    3    are these witnesses that you want to depose who you may use at

    4    trial?

    5                 MS. DICKINSON:      Both.

    6                 THE COURT:    I see.   All right.       Anything else?

    7                 MS. DICKINSON:      I'm assuming you don't want me to go

    8    through the underlying facts--

    9                 THE COURT:    No.

   10                 MS. DICKINSON:      Okay.

   11                 THE COURT:    I don't need that.        I've read

   12    everything.

   13                 MS. DICKINSON:      I understand.

   14                 THE COURT:    All right.    Thank you.

   15                 MS. DICKINSON:      Thank you, Your Honor.

   16                 THE COURT:    Ms. Candess, what do you have to say,

   17    Ms. Candess Hunter?

   18                 MS. HUNTER:   Well, quite a lot.            I learned a lot

   19    just in the last few moments of allegations.                That I have

   20    talked to the accountant and he says he's not leaving Arizona,

   21    he's not going out of state for any deposition.                  And that was

   22    Wednesday.    So, if it's changed since then, it's new to me.

   23    But I was in a flight to come here, so I haven't talked to him

   24    since then.

   25                 I guess where I would really like to start, Your




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    1    Honor, is with the motion to compel, just to give you an idea

    2    of what's been going on in this case.

    3               THE COURT:    I think I understand what's been going

    4    on.

    5               MS. HUNTER:    Do you have it?

    6               THE COURT:    I've read everything.

    7               MS. HUNTER:    Okay.

    8               THE COURT:    I've read your e-mails, I've read

    9    everything.

   10               MS. HUNTER:    Excellent.      Excellent.         And I have a

   11    timeline, it ended up in several pages, two pages on my

   12    briefing, but it's down to one page, it makes it very clear,

   13    Your Honor, of the precipitous nature of that motion to

   14    compel.   For reasons that are truly beyond us all, that was

   15    filed within a day of being told that the things were on their

   16    way to her.    Filing a motion to compel in these circumstances

   17    was clearly done, talk about harassment, to get us to come out

   18    here and deal with this issue, which is truly a nonissue.

   19               She is asking for sanctions.          I would request, Your

   20    Honor, that sanctions and at least the costs of this trip and

   21    exercise in futility on this motion to compel be assessed

   22    against the plaintiffs.

   23               The two issues that were brought up in her motion to

   24    compel are the load file.      She received all of the documents,

   25    she could look at all of the documents.            Two of the elements




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    1    of the load file were inadvertently omitted.               That was

    2    discovered on October 21.

    3                On the 22nd we had a meet and confer, and yet--                     By

    4    phone, of course.     And in that meet and confer we said, we

    5    will get them to you immediately.

    6                And it was truly a meet and disregard because that

    7    discussion was completely disregarded.           The next day we got

    8    the load file, we overnighted it to her for Saturday delivery

    9    as she had requested.     But meantime at 5 p.m. on Friday, she

   10    filed a motion to compel for--       I think that is an abuse of

   11    process.

   12                Then we get to the Jenni Loomis documents.                  We

   13    discovered on October 21 that the plaintiffs were questioning

   14    whether or not Jenni Loomis' documents were included.                    We

   15    thought they were, but we met with our clients, called our

   16    clients to make sure.     And they had misunderstood, they didn't

   17    know that duplicative documents needed to be Bates labeled and

   18    sent as well.

   19                So, we straightened them out on that and talked to

   20    Ms. Dickinson on Thursday, October 22, explained the mix-up.

   21    And it said that her documents would be imaged and forwarded

   22    to her within the next few days.

   23                The next day Ms. Dickinson filed her motion to

   24    compel.    They knew the documents were coming.              They came on,

   25    we overnighted them on October 28.         I am sure they arrived in




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    1    their office yesterday.

    2               This motion to compel is completely spurious and

    3    should be not only denied, but assessed the costs.

    4               Then we get to the other one, the motion for

    5    protective order.     Now, Ms. Dickinson's claim that she wasn't

    6    mentioned in the police report is certainly news to me because

    7    that was certainly my, what Joe had been telling the police

    8    officer, was Ms. Dickinson and her clients, Intersections and

    9    NEI, that were, that had the laptop computer, his laptop

   10    computer in our building.

   11               NEI is on, was on the second floor of our building.

   12    Hunter, Humphrey & Yavitz, our law firm, is on the fourth

   13    floor.   So, it was right downstairs.

   14               There was no doubt that he filed the complaint about

   15    all of them and gave notice.      And to tell you the truth, I

   16    think that is incredibly appropriate notice.               We had been

   17    telling her for weeks, you can't keep somebody's property, it

   18    is not discovery to steal people's documents or property--

   19               THE COURT:    Steal?

   20               MS. HUNTER:    Well, to take them.

   21               THE COURT:    Take?

   22               MS. HUNTER:    Yes.    Your Honor, they--

   23               THE COURT:    Take?

   24               MS. HUNTER:    They had--

   25               THE COURT:    Your client left it behind.




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    1               MS. HUNTER:    Yes, yes, he did.

    2               THE COURT:    How is it taking on their part?

    3               MS. HUNTER:    Well, by not returning it.               And by

    4    taking it, they not only didn't return it--

    5               THE COURT:    That's a misrepresentation.

    6               MS. HUNTER:    Okay.

    7               THE COURT:    They didn't take anything, Ms. Hunter.

    8               MS. HUNTER:    Well, they actually took it out of

    9    building, Your Honor, and flew it to Washington, D.C. to have

   10    it taken apart--

   11               THE COURT:    Well, you're getting yourself in hot

   12    water.

   13               MS. HUNTER:    Okay.

   14               THE COURT:    You're getting yourself in deeper with

   15    every word coming out of your mouth, I have got to tell you,

   16    Ms. Hunter.

   17               MS. HUNTER:    Okay.    Okay.

   18               THE COURT:    Anything else you want to say?

   19               MS. HUNTER:    Yeah, I would like to talk to you a

   20    little bit about what's happening today.

   21               THE COURT:    Good, I would like to hear it.

   22               MS. HUNTER:    Today we have a 30(b)(6) deposition

   23    that was noticed for 9 o'clock on October 30.                And that is of

   24    the Intersections person, the CEO of Intersections.

   25               Anyway, that was scheduled for 9 o'clock out in




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     1   Reston, which is about, I understand about 20 miles from here.

     2   That was scheduled to go, everything was set.                Last Friday

     3   night we received the fax of the notice of this hearing.

     4               THE COURT:    Yes.

     5               MS. HUNTER:    Set for the same day.           So--

     6               THE COURT:    This is when we always hear motions.

     7               MS. HUNTER:    Yes, exactly, Your Honor.

     8               THE COURT:    Yes.

     9               MS. HUNTER:    So, we both--      So, we made

    10   arrangements--     We are a very small law firm, there is three

    11   of us attorneys.     We made arrangements for two of us to fly

    12   out here so that we could handle the deposition and the

    13   hearing.

    14               And Wednesday night we hear from Ms. Dickinson that

    15   she is not going to be at the, she is not going to have her

    16   client at the deposition until after this hearing.                  And we

    17   explained that we had--

    18               THE COURT:    When did you fly out here, Ms. Hunter?

    19               MS. HUNTER:    Yesterday, Your Honor.

    20               THE COURT:    So, you knew about that before you came

    21   out?

    22               MS. HUNTER:    But we had already paid for the tickets

    23   and were set to go.      So, we had told Ms. Dickinson that we had

    24   already booked into this thing.

    25               Certainly DLA Piper has got 1,500 lawyers, Your




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     1   Honor.    And there is only three of us.         And if we can be,

     2   manage to be in two places, it seemed absurd that DLA Piper

     3   couldn't manage to be, to cover both things for some short

     4   period of time.

     5               So, I would like your help on that, Your Honor.

     6               THE COURT:    Anything else?

     7               MS. HUNTER:    I think that's the latest.

     8               THE COURT:    All right.    Mr. Ludwig, could you come

     9   to the podium, please.

    10               Mr. Ludwig, did you have any idea that Arizona

    11   counsel was having her client file a criminal complaint

    12   against counsel here in D.C.?

    13               MR. LUDWIG:    No, Your Honor, I did not.

    14               THE COURT:    Have you been in on any of these

    15   conversations back and forth about the computer or about the

    16   depositions or about the discovery?

    17               MR. LUDWIG:    Not actively, Your Honor.             I have been

    18   receiving file copies of the correspondence.

    19               THE COURT:    Well, I suggest that your conduct then

    20   and your participation in this case is going to step up

    21   markedly.    As local counsel, we expect you to be responsible

    22   for conduct of pro hac vice counsel.          You were the one who

    23   moved her in pro hac vice in this case, and you're going to be

    24   held responsible for defendants' counsel's conduct from this

    25   point on.




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     1               And quite frankly, it's at your peril when you

     2   decide to be local counsel for out-of-state attorneys and then

     3   not be involved enough to understand what's going on and what

     4   they are doing in the case.

     5               I am going to not hold you personally responsible

     6   for this today, but from today on I will.

     7               MR. LUDWIG:    Understood, Your Honor.            And for the

     8   record, our firm sent--

     9               THE COURT:    I assume that you know how an attorney

    10   is expected to conduct him or herself in this court.

    11               MR. LUDWIG:    Of course, Your Honor.            For the record,

    12   our firm sent notice of our intent to file a motion to

    13   withdraw to defendants just a few days ago.

    14               THE COURT:    Okay.

    15               MR. LUDWIG:    And we'll be filing those papers

    16   shortly.

    17               THE COURT:    All right, thank you.

    18               This is without a doubt the most outrageous conduct

    19   by an attorney that I have ever seen, not only on the bench

    20   but in private practice and in the U.S. Attorney's Office.

    21               You can sit down, Mr. Ludwig.

    22               I have absolutely no doubt that counsel's caution in

    23   making arrangements for the exchange of the computers was

    24   justified by your conduct and by your client's conduct.                     It

    25   was amply justified.      And there was no significant delay in




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     1   arranging that.

     2               If you were seriously concerned about that laptop

     3   being returned immediately after your client had left it

     4   behind for a year, you could have brought a motion before me

     5   to have it returned.      Instead, you chose to have your client

     6   file a criminal complaint apparently against the plaintiff,

     7   but you misrepresented to plaintiffs' counsel that it was also

     8   against them and that--      Yes, you did.       I looked at the

     9   e-mail.    And that they might be subject to arrest when they

    10   step into the state for depositions.

    11               How dare you.    How dare you do something like that.

    12   I just cannot believe it.       I will not allow you to conduct

    13   yourself in this manner and practice before this Court.                     It

    14   will not happen in the future, period.

    15               I also believe that their motion to compel was amply

    16   justified by your failure to repeatedly provide documents that

    17   were promised.     You failed repeatedly to provide the documents

    18   on dates that you had promised them.          And then when they were

    19   promised, when they were provided, they weren't complete.

    20               So, their motion to compel was justified.                   There was

    21   no reason for them to think that your promise to produce them

    22   over the weekend last weekend was going to be complied with.

    23   They needed to file their motion by now last Friday to get it

    24   heard by this Friday, and I think it was totally justified.

    25               I can't believe your conduct is the norm in Arizona,




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     1   I refuse to believe that.       I'm amazed if you've engaged in

     2   this conduct before in Arizona, you haven't been sanctioned by

     3   a court before.     But I'll tell you, you're going to be subject

     4   to sanctions from here on out.

     5                I am going to grant, first, the plaintiffs' motion

     6   to compel.    All documents that are still outstanding that have

     7   not been produced and all documents that have been produced

     8   will be produced in the format agreed to by next Friday,

     9   including proper load files.         They must be--

    10                MS. HUNTER:   That's already.

    11                THE COURT:    Pardon?

    12                MS. HUNTER:   That's already been done, Your Honor.

    13                THE COURT:    Pardon?

    14                MS. HUNTER:   That's already done, Your Honor.                   They

    15   received--

    16                THE COURT:    Well, you better make sure it's done.

    17                And if plaintiffs' counsel thinks it hasn't been

    18   done, I would like you to send her an e-mail or give her a

    19   letter today and tell her what is deficient.

    20                And whatever is on there, I expect it to be done by

    21   next Friday, that's November 6 at 5 p.m.             It will be delivered

    22   to counsel's offices here in D.C. by that time complete and in

    23   format that is required.

    24                I'm also going to grant the motion for protective

    25   order.    And I will tell you that all communication, first of




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     1   all, both oral and written from here on out will only be made

     2   through local counsel.      You are not to contact plaintiffs'

     3   counsel directly by phone, by e-mail, by letter.

     4               You will also direct that your client will have no

     5   contact with the plaintiffs, the plaintiffs' employees or the

     6   plaintiffs' witnesses.

     7               And as I said before, I will hold local counsel

     8   responsible for all of your communications from this point

     9   forward.    And you will have to sign off on any e-mails or

    10   letters, and you will have to have any discussions with them

    11   about discovery.

    12               There will be absolutely no more harassment of

    13   plaintiffs' counsel by you.       And all of the depositions by the

    14   plaintiff will be held either in Virginia or by telephone

    15   deposition at their choice.

    16               If they are to be held in Virginia, then you will

    17   pay, the defendants will pay the cost of transportation and

    18   lodging for all of the witnesses who are to appear in Virginia

    19   for deposition.

    20               If plaintiff decides that they want to take some of

    21   them by video deposition, I will allow them to do that.

    22   Otherwise, you are going to have to make them show up.                     And if

    23   it is somebody who you want to appear for trial to testify on

    24   your behalf, then I suggest that you comply with their

    25   directions as to that.




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     1               I will further order that, and I will tell you that

     2   if you violate my orders today or if you engage in any of this

     3   conduct in the future, including, I am going to include how

     4   you behave and act at depositions, it will not only result in

     5   sanctions as to you and your clients monetarily, jointly and

     6   severally, it will also be sanctions, substantive sanctions

     7   against your defendants', your clients' defense, and I will

     8   revoke your pro hac vice status.

     9               If your motion to withdraw as local counsel is

    10   granted, I would expect that there will be local counsel who

    11   will be immediately substituted.        I am not going to allow you

    12   to operate without local counsel.

    13               So, before you get out, you're going to have to have

    14   new local counsel in place.       And they are going to also be

    15   subject to my orders.

    16               And Mr. Ludwig, I expect that you will inform local

    17   counsel yourself that this Court will expect that they will be

    18   personally responsible for Arizona counsel's conduct.

    19               Now, as to the deposition today, what time would you

    20   like it to start?

    21               MS. DICKINSON:    Your Honor, the witness is prepared

    22   to be there at 11:30.      They could maybe be there a little

    23   earlier.    We have security guards meeting us there at 11:30.

    24               THE COURT:    All right.    11:30 it will be.

    25               Is there anything else today?




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     1                MS. DICKINSON:   Your Honor, there is, there is one

     2   other thing.

     3                THE COURT:   All right.

     4                MS. DICKINSON:   The depositions that are scheduled

     5   in Arizona are very important depositions.

     6                THE COURT:   Yes.

     7                MS. DICKINSON:   Jenni Loomis is scheduled for next

     8   Sunday, a week from this Sunday.         Joe Loomis is scheduled for

     9   Monday.     And the accountant is scheduled for Tuesday.                  And

    10   then our expert reports are due on Friday.

    11                So, it is very important for us to get those in.

    12                THE COURT:   A week from Monday they are scheduled

    13   for?

    14                MS. DICKINSON:   They are a week from this Sunday.

    15                THE COURT:   A week from this Sunday.

    16                MS. DICKINSON:   Actually Sunday, Monday, Tuesday.

    17   It would be a hardship on us if those were, if we had to then

    18   negotiate with counsel to reschedule them--

    19                THE COURT:   Your discovery cutoff is December 11?

    20                MS. DICKINSON:   Yes.

    21                THE COURT:   All right.

    22                MS. DICKINSON:   If we could just make them come here

    23   on those dates, everybody just comes to Virginia, that would

    24   be great.

    25                THE COURT:   They are set aside.            I don't see any




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     1   reason why they can't be here on those dates.                 Those dates

     2   have already been scheduled, correct?

     3               MS. DICKINSON:    Yes.

     4               THE COURT:    All right.

     5               MS. HUNTER:    Your Honor--

     6               THE COURT:    Yes.

     7               MS. DICKINSON:    Okay.     Thank you, Your Honor.

     8               MS. HUNTER:    Your Honor, we have no way to get the

     9   accountant here.     He's been served with a subpoena in Arizona,

    10   and he doesn't work for any of us.

    11               THE COURT:    Okay.   Well, the deal is this--

    12               MS. HUNTER:    He refuses to come here.

    13               THE COURT:    Okay.   It's up to plaintiffs' counsel,

    14   if they want to take a video deposition of him, that's fine.

    15   If they think that is not workable, if they think it's not

    16   sufficient in their view, and in only their view, then I'll

    17   allow them to insist on his deposition being here in Virginia.

    18               So, the deal is, either he will comply with the way

    19   they want to have the deposition conducted or he will not be

    20   allowed to testify at trial.       There you have it.

    21               MS. HUNTER:    That's okay with us.

    22               THE COURT:    Court stands in recess.

    23               MS. DICKINSON:    Thank you, Your Honor.

    24               NOTE:   The hearing concluded at 10:19 a.m.

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                                              Norman B. Linnell   OCR-USDC/EDVA   (703)549-4626
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     2            C E R T I F I C A T E     of    T R A N S C R I P T I O N

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     5                I hereby certify that the foregoing is a true and

     6   accurate transcript that was typed by me from the recording

     7   provided by the court.      Any errors or omissions are due to the

     8   inability of the undersigned to hear or understand said

     9   recording.

    10

    11                Further, that I am neither counsel for, related to,

    12   nor employed by any of the parties to the above-styled action,

    13   and that I am not financially or otherwise interested in the

    14   outcome of the above-styled action.

    15

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    19

    20                                           /s/ Norman B. Linnell

    21                                      Norman B. Linnell

    22                                      Court Reporter - USDC/EDVA

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                                             Norman B. Linnell   OCR-USDC/EDVA   (703)549-4626
